Helen S. Delone, Petitioner, v. Commissioner of Internal Revenue, RespondentDelone v. CommissionerDocket No. 6423United States Tax Court6 T.C. 1188; 1946 U.S. Tax Ct. LEXIS 179; May 27, 1946, Promulgated *179 Decision will be entered unler Rule 50.  Petitioner's husband willed to her all of his estate, but directed that she sell his entire 2,544 shares of common stock of a corporation to 3 other major stockholders at $ 100 per share. The estate tax appraisal of the stock was $ 125 per share. Petitioner held 865 shares of such stock independently of the will at a basis of $ 100 per share. Petitioner and the 3 stockholders made an agreement whereby she transferred 693 of her shares to them and her remaining 2,716 shares to the corporation, for a consideration consisting of cash and preferred stock of the corporation.  Petitioner also assumed payment of Federal and state estate and inheritance taxes attributable to the option legacy of the 3 stockholders. Held, petitioner's basis for computing gain or loss on disposition of the 3,409 shares of stock is $ 100 per share; held, further, the amount realized by petitioner on the transaction is the consideration in cash and preferred stock minus the amounts of Federal and state estate and inheritance taxes assumed.  John F. Greaney, Esq., for the petitioner.Robert H. Kinderman, Esq., for the respondent.  Hill, Judge.  HILL *1188  This proceeding is for the redetermination of a deficiency in income tax for the calendar year 1940 in the amount of $ 9,921.49.  The only issue is what, if any, capital gain petitioner realized on the transfer of certain common stock. Petitioner's return for 1940 was filed with the collector of internal revenue for the first district of Pennsylvania at Philadelphia.The case was submitted upon a stipulation of facts, oral testimony, and exhibits introduced at the hearing.  Facts stipulated are so found and so far as material are summarized in the findings of fact.*1189  FINDINGS OF FACT.The petitioner is the widow of C. J. Delone, who died testate on January 17, 1940, a resident of Hanover, Pennsylvania.  His will, dated April 11, 1938, named the petitioner and Robert E. Hart, as coexecutors, and provided for the payment of all debts and funeral*181  expenses.  The only other dispository provision is as follows:Secondly. All of my estate whether of real or personal property, I will unto my dear wife, Helen S. Delone, for her own use forever, and I do hereby direct that she sell unto Russell M. Shafer, Sr., James F. Malcolm and V. Daniel Shafer, all of Hanover, Pennsylvania, all of the stock in the Revonah Spinning Mills standing in my name, at the par value of $ 100.00 per share, provided they also purchase from Robert E. Hart three hundred and ten (310) shares of the same stock belonging to him, at the par value of $ 100.00 per share, if he should desire to sell the same.There was no provision in the will for the payment of Federal estate or state inheritance taxes.  The will was probated and letters testamentary in accordance therewith were duly granted.At the time of his death, C. J. Delone owned 2,544 shares of common stock of Revonah Spinning Mills, Inc., hereinafter referred to as Revonah.  The petitioner at that time owned 65 shares of the common stock of the same company which she had acquired in 1937 and which had a basis in her hands of $ 100 per share. In 1940, subsequent to the death of her husband, petitioner*182  purchased from a sister of C. J. Delone 800 shares of common stock of Revonah at a cost of $ 100 per share.On September 20, 1940, Russell M. Shafer, Sr., James F. Malcolm, and V. Daniel Shafer, hereinafter sometimes referred to as the three individuals, and petitioner entered into an agreement with respect to stock of Revonah.  Material portions of the agreement are:We [the three individuals] have been discussing for some time with you [petitioner] a practical method of working out the provisions of your husband's will concerning our right to purchase stock of the Revonah Spinning Mills.  * * * There is also a question as to our liability for the payment of inheritance taxes on the benefit received by us through the provisions of Mr. Delone's will, which gives us the right to buy stock at $ 100 a share, which is less than its actual value.* * * *Pursuant to our discussions, Revonah Spinning Mills has been recapitalized and now has an issue of preferred stock. It will purchase from you 2,716 shares of its stock at a price of $ 357,700, its approximate book value, payable $ 170,000 in cash and $ 187,700, in preferred stock. This we believe to be the fair value of the stock.As*183  a result of our discussions, and in order to settle the whole matter, we therefore propose that you turn over to us 693 shares of Revonah Spinning Mills stock free of any claim for federal and state transfer inheritance and estate taxes, one-third to each of the undersigned, which we will accept in satisfaction of the benefit conferred upon us by Mr. Delone's will.  This will leave you free to sell the remaining stock, both that acquired by you from Mr. Delone's estate and that owned by you, to the Revonah Spinning Mills on the basis above stated, which we understand is satisfactory.*1190  In connection with all the foregoing, we are advised by our counsel and counsel for the Revonah Spinning Mills that the transactions can be duly performed under the laws of the State of Pennsylvania upon your consent to the transactions.  We agree to hold you harmless from any claim in connection with them, or any of them, that may be made against you by Revonah Spinning Mills or by any of its stockholders by reason of anything done by you.  If you are in accord with the understanding set forth herein, will you please sign the duplicate of this letter so that we can proceed to carry out the*184  transactions which are here provided for.In execution of the terms of the agreement, petitioner transferred to Revonah 2,716 shares of its own common stock and transferred to the two Shafers and Malcolm 693 shares of common stock of Revonah.  The 693 shares were accepted by the three individuals in satisfaction of the benefits conferred upon them under the will of C. J. Delone.  Revonah transferred to petitioner $ 170,000 in cash and preferred stock of the corporation of a par value of $ 187,700, having a fair market value of the same amount.The two Shafers and Malcolm were among 3 or 4 persons who held 50 percent of the stock of Revonah, the other 50 percent having been held by C. J. Delone.  They had been associated with Delone in the business for about 12 years prior to his death, and devoted their full time to it.  During this period the business had generally prospered.  No consideration, other than that specified in the agreement, was paid to petitioner for the 693 shares of stock transferred to the 3 individuals.  The income tax returns of the 3 individuals for 1940 did not carry any report whatsoever of the transfers of stock mentioned above.In determining the Federal estate*185  tax liability of C. J. Delone's estate, the Commissioner appraised the fair market value of the common stock of Revonah at the date of decedent's death at $ 125 per share, valued the gross estate minus deductions at $ 310,216.17, and allowed a credit for Pennsylvania inheritance taxes in the amount of $ 3,926.92.  The estate tax was determined to be $ 36,716.31, which was paid by the estate.In her income tax return for 1940 petitioner reported gain or loss on the sale of 2,579 shares of Revonah on September 20, 1940, as "none." In the deficiency notice the Commissioner computed the basis of common stock of Revonah sold or exchanged by petitioner during 1940 as follows: 1,851 shares, $ 231,375; 800 shares, $ 80,000; and 65 shares, $ 6,500.  On the first two lots it was determined that the sale price was $ 349,139.43 and that a short term capital gain of $ 37,764.43 was thus realized.  On the 65 shares the Commissioner determined the sale price to be $ 8,560.57, resulting in a gain of $ 2,060.57, 50 percent of which was included in petitioner's net income as a long term capital gain.*1191  OPINION.The question here is how much, if any, capital gain petitioner realized on the *186  transfer on September 20, 1940, of 3,409 shares of common stock. There is no dispute as to the value of her receipts as a result of this transfer or as to the basis of 865 shares which she had acquired by purchase at $ 100 per share. The difficulty arises with respect to the 2,544 shares which were the subject of a testamentary disposition by petitioner's husband, C. J. Delone.  The pertinent provisions of Delone's will and of the agreement under which these shares were transferred are fully set out in our findings of fact.The principal conflict between the parties is as to what interest in the shares was acquired by petitioner under her husband's will.  The respondent's position, and the basis upon which the deficiency was determined, is that petitioner acquired by bequest only 1,851 shares of Revonah common stock; and that the 693 shares were received by the three individuals as a legacy under the will and, since they were not received by purchase from petitioner, they are not includible by her in the basis of the stock transferred. Under this view, she gained $ 39,825 on the transfer of the 3,409 shares.  Petitioner's theory is that she received the entire 2,544 shares subject*187  to an option and that, since the appraisal for Federal estate tax purposes was $ 125 per share and they were all transferred under the agreement, the full value of all the shares is the basis.  This calculation results in a loss of $ 46,800.  In the alternative, she contends that the will gave her at least an interest in each of the 2,544 shares equal to the $ 100 option price and that the basis should be this amount multiplied by the total number of shares.  A gain of $ 16,800 is the result under this theory.  In conjunction with her alternative contention, petitioner argues that the basis should be increased by the proportionate amounts of the Federal estate and state inheritance taxes which may be charged to the 3 individuals as legatees of a $ 25 interest in each of the 2,544 shares, since this liability was assumed by her in the transfer agreement and paid by the estate, of which she was the residuary legatee.The respondent's view of the effect of the will rests on 2 premises.  The first is that under the terms of the will the 3 individuals were to receive a legacy which would reduce petitioner's bequest to something less than a 100 percent interest in any of the 2,544 shares. *188  The second premise is that the transfer agreement accomplished a partition and redistribution of legacies which determines what petitioner and the 3 individuals took by inheritance.Our interpretation of the will, based on its clear and express terms and on the decisions of the Pennsylvania Supreme Court in Bayer v. Walsh, 166 Pa. 38; 30 Atl. 1039; In re Fleming's Estate, 184 Pa. 80; *1192 39 Atl. 27; and In re Dilworth's Estate, 243 Pa. 475; 90 Atl. 356, is that petitioner took title to the entire 2,544 shares of Revonah stock, this title being encumbered by an option, and that the option constituted a valuable, though contingent and personal, bequest to the 3 individuals.  In the Dilworth case, cited supra, the court found that the will there involved contained "an express provision * * * that only in event of refusal to accept the option would [title] pass" to the legatee, and until that time it remained in the executrix. The will here did not contain any such provision, but, to the contrary, *189  specifically provided that "she sell" the Revonah stock to the optionees. In view of the lack of reference to the coexecutor in this connection, it appears clear that the direction to sell was to petitioner as legatee and not as executrix. The clear intent of decedent was accomplished by bequeathing the stock to petitioner, subject to the option in the 3 individuals.Section 113 (a) (5) of the Internal Revenue Code provides that the basis of "the property * * * acquired by bequest * * * shall be the fair market value of such property at the time of such acquisition." Section 19.113 (a) (5)-1 (c) of Regulations 103 establishes a presumption that the fair market value of the property as of the date of death of the decedent is the value as appraised for the purpose of the Federal estate tax. No evidence was offered to refute this presumption.  Common stock of Revonah was appraised for this purpose at $ 125 per share, and petitioner contends that this is the basis of each of the 2,544 shares in her hands.  It may be observed, however, that the appraisal was of unencumbered common stock, and petitioner received under the will common stock subject to an option to buy at $ 100 per*190  share which was never appraised for estate tax purposes.  Thus, we must consider what, if any, effect the option had upon the fair market value of the stock when unencumbered.The depressive effect of similar restrictions upon alienation of property has many times been considered by the courts in fixing the property's value.  The rationale of the cases seems to be the existence, or lack of it, of a presently exercisable right in another to compel the property holder to sell at a fixed value.  Where a stockholder has merely agreed to offer stock on certain terms if he should desire to sell, such an agreement does not restrict the value for tax purposes to the agreement price. Halsted James, 3 T. C. 1260; affd., 148 Fed. (2d) 236, and numerous cases cited therein. Krauss v. Commissioner, 140 Fed. (2d) 510; Raymond J. Moore, 3 T. C. 1205; Estate of Virgil D. Giannini, 2 T. C. 1160; affd., 148 Fed. (2d) 285. Likewise, an option to buy shares of stock at book value sometime in the future does not limit*191  the value for gift tax purposes to book value at the *1193  time of the gift.  Commissioner v. McCann, 146 Fed. (2d) 385, reversing 2 T. C. 702; C. T. Kline, 44 B. T. A. 1052; affd., 130 Fed. (2d) 742; certiorari denied, 317 U.S. 697. Where, however, on the date as of which value is to be determined, there is a binding, irrevocable option, specifically enforceable, which leaves the shareholder no choice to refrain from selling at the stipulated price, the market value of stock so encumbered is the option price. Helvering v. Salvage, 297 U.S. 106; Commissioner v. Bensel, 100 Fed. (2d) 639; Lomb v. Sugden, 82 Fed. (2d) 166; Wilson v. Rogers, 57 Fed. (2d) 682.We think the last stated rule applies to the instant case.  Petitioner enjoyed no freedom of determination as to whether, when, or at what price to sell the shares of Revonah stock which she received under the will.  She could only require of*192  the optionees that they tender to her the option price and show that they had tendered to Hart a minimum price of $ 100 per share for his 310 shares.  Since they were in a position to realize a substantial profit on each of the 2,544 shares, and also a like profit per share on the Hart shares if purchased at $ 100 per share, there is little likelihood that over-all financial arrangements could or would not be made to enable the 3 individuals to make the offer of $ 100 per share for the Hart stock. Cf.  C. T. Kline, supra.As was observed by the court in Commissioner v. McCann, supra:* * * An option immediately exercisable -- a "call" -- will, however, ordinarily be regarded as a limit upon market value, or any other value however ascertained or ascertainable, because the person having the option, if well advised, will exercise it as soon as the value rises above the option price. If there are reasons why he will not then do so, he must prove them who wishes to discard the option as the measure. * * *We conclude that $ 100 per share is the fair market value, and basis, of each share of stock as petitioner received*193  it under her husband's will.The cases of J. Gordon Mack, 3 T. C. 390; affd., 148 Fed. (2d) 62, and Helvering v. San Joaquin Fruit &amp; Investment Co., 297 U.S. 496, cited by petitioner as supporting her contention, do not present the question here involved.We come now to a consideration of the effect of the transfer agreement.  The respondent, relying on M. L. Long, 35 B. T. A. 95, and Lyeth v. Hoey, 305 U.S. 188, contends that the agreement was a readjustment of legacies, so that petitioner "acquired by bequest" from her husband 1,851 shares of Revonah stock free and clear, and the 3 individuals "acquired by bequest" 693 shares free and clear. Petitioner's view is that the agreement is independent of the testamentary distribution and that the 3 individuals acquired the 693 shares "by purchase" from her and not "by bequest" from her husband.We agree with petitioner on this point.  The agreement between petitioner and the 3 individuals was not confined to the transfer of petitioner's *1194  title to the 2,544 shares of stock*194  in Revonah acquired by her under the will, but it also embraced the sale by her of 865 shares of Revonah stock which she had acquired independently of the will.  It is apparent that the purpose of the 3 individuals in effecting the agreement in question was to acquire all of petitioner's stock in Revonah and not to define or adjust legacy rights between the parties to the agreement.  The will defined those rights with a certainty that eliminates any question with respect thereto.  To effectuate the agreement Revonah was recapitalized and, in consideration of $ 170,000 in cash and preferred stock of Revonah of the value of $ 187,700, petitioner transferred all of her then rights in Revonah stock totaling 3,409 shares as follows: 693 shares to the 3 individuals and 2,716 shares to Revonah.  Also, under such agreement, petitioner assumed the payment of Federal and state inheritance and estate taxes attributable to the legacy of the 3 individuals.We hold that the consummation of the agreement effected a sale by petitioner of her entire stockholdings in Revonah, consisting of 3,409 shares, for the consideration therein named.  Specifically, we hold that the 693 shares were acquired by*195  the 3 individuals by purchase from petitioner and were not received by them as a legacy under the will.There remains for consideration only petitioner's claim that the basis for computing gain on the sale of the stock should include the amounts of Federal estate and state inheritance taxes apportionable to the legacies of the 3 individuals.  There is no controversy here as to such amounts being so apportionable under the law of Pennsylvania.  Those liabilities were assumed by petitioner in the transfer agreement and she contends that she actually bore these burdens when the estate paid the taxes in full, since she was legatee of the entire remaining portion of the estate.  Respondent objects to the adjustment only on the ground that petitioner has not proved payment of the taxes during the taxable year here involved.  We think that the amounts of the tax liabilities assumed should be reflected in the computation of petitioner's gain or loss on the disposition of the stock. We regard it as immaterial on the facts that the taxes may not have been paid during the taxable year 1940. Park &amp; Tilford, 43 B. T. A. 348, 380; Cambria Development Co., 34 B. T. A. 1155.*196 The deal was closed in that year and the rights and obligations of the parties were fixed as of the date of the agreement.  Cf.  Fordyce v. Helvering, 76 Fed. (2d) 431; Standard Lumber Co., 28 B. T. A. 352. Although the amounts had not been determined when the agreement was made, the taxes assumed by petitioner were due at that time and the agreement left no uncertainty that she would bear their full burden.  Under such circumstances, the *1195  assumption of liabilities must be regarded as the equivalent of cash paid as part of the consideration for the transaction.  See 2 Mertens, Law of Federal Income Taxation, secs. 11.19 and 12.129.Although the tax results here will be the same, we think correctness requires us to point out that the amounts of liabilities assumed should go in reduction of the amount realized by petitioner on the transaction rather than as an adjustment to the basis of her 2,544 shares.We hold, therefore, that the basis to petitioner of the 3,409 shares of stock transferred under the agreement of September 20, 1940, was $ 100 per share, and that the amount realized by her on the transaction*197  was $ 357,700, less the amounts of the tax liabilities assumed.  Such amounts will be computed in compliance with the provisions of the statutes of Pennsylvania, apportioning Federal estate and state inheritance taxes between legatees.Decision will be entered under Rule 50.  